Case: 4:14-Cv-00385-RWS Doc. #: 1-1 Filed: 02/27/14 Page: 1 of 25 Page|D #: 3

 

 

 

Report: CZR0026 21ST JuchlAL ciRculT Date: 27-Feb-2014
ST Louls COUNTY Time; 12:17;06PN1
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14SL-CC00044 DOUGLAS PH|LL|P BRUST DC V OLYMP|C Security Leve|: 1 Public
REHAB CENTER
Case Type: CC injunction Case Filing Date: 1G-Jan-2014
Status: Pet Filed in Circuit Ct
Disposition: Disposition Date:
Releasel$tatus Reason
Change Date
Judge [VIICHAEL D BURTON {35190)
P|aintiff DOUGLAS PH|LLIP BRUST DC PC (@665242)
Attorney for Praintfff l\/IAX GEORGE l‘\/l/»\RGUL|S(24325)
Defendant OLYMPIC REHAB WELLNESS AND PA|N
CENTER PC (ORWANDPC)
Fi|inq Date Descrl'ption
10-Jan-2UT4 Judge Assigned
D|V 16
Pet Filed in Circuit Ct
Confid Filing lnfo Sheet Filed
Motion Filed
|V|OT|ON FOR CLASS CERT|F|CAT|ON
23-Jan-20'|4 Summons |ssued»Circuit
Document |D: 14-5|\/|(30-786` for OLYN]PIC REHAB VVELLNESS AND PA|N CENTER PC_
HAND DEL|VERED TO ST LOU|S COUNT‘{ SHERIFF
ServicelAttempt Date: 27-Jan-2014
29-Jan-2{}T4 Summons Personal|y Served

Docurnent ID - 14-SN1CC-786; Served To - OLYIVIP|C REHAB VVELLNESS AND PA|N CENTER
PC; Server - GOODR|CH, ROBERT; Served Date - ZB-JAN-M; Served Time - 10:27:00; Service
Type - Territory 27; Reason Description - Served; Service Text - L/C

    

  

EFENDANT'S
D EXHIBIT

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Case: 4:14-cv-00385-RWS Doc. #: 1-11' ed: 02/27/14 Pagij(h‘i\Z<oi\Z\B Page|D nt_/:j?i:_}
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3 IN THE ZIST JUDI(AAL CIRCUI'I" COURT, ST. LOUIS COUNTY, MISSOURI 7 /é//:,

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lodge or Division: Case Number: l4SL-CC00044 i
MICHAEL D BURTON

Plaintiff/Petitioner: Plaintiff" s/Petitioner’ s Attomey/Address

DouGLAs PHILLIP BRus'r Dc Pc MAX GEORGE MARGULIS

28 OLD BELLE MONTE ROAD
vs. CHESTERFIELD, MO 630]7

 

 

Defendant/Respondent: COU!'T Addr€SS.'
oLYMPiC REHAB WELLNEss AND PAIN ST LOUIS COUNTY COURT BUILDING
cENTER Pc 7900 cARoNDELET AVE

CLAYTON, Mo 63105

Nature of Suit:
CC Injunction (Dace File Sramp)

 

 

 

 

Summons in Civil Case

`T_h€ Sfate Df MiSSDUl'i fO: OLYMPIC REHAB WELLNESS AND PAIN CENTER PC
:€¢*j°"j'*"il Alias:

5000 chAn PLAZA PLw sleeve REGISTEREI) AGENT AND
s 250 g 17’ aj ‘_,;L/',','¢ PResu)ENT
sum couls, Mo 63123 " fin ALExANnER BEsza

You are summoned to appear before this court and to file your pleading to the petition, a copy of
which is attached, and to serve a copy of your pleading upon the attorney for P|aintifi'/Petitioner at the
above address all within 30 days after receiving this summons, exclusive of the day ofservice. Ii` you fail to
l'ile your pleading, judgment by default may be taken against you for the relief demanded in the petition.

SPECIAL NEEDS: If you have special needs addressed by the Americans With Disa!)ilities Act, please

notify the Off`ice ofthe Circuit Clerk at 314-615-8029, FAX 314-615-8739 or TTY at 314-615-4567, at least
three business days in advance ofthe court proceeding.

 

ST. LOUIS COUNTY

23-JAN-20]4
Date Clerk

Further Inl`ormation:
TLC
Sherift’s or Server’s Return

Note to serving officer: Summons should be returned to the court Within thirty days alter the date of issue.
l certify that I have served the above summons by: (check one)

m delivering a copy ot`the summons and a copy ofthe petition to the DefendantfRespondenL
i:i ieaving a copy ofthe summons and a copy of the petition at the dwelling place or usual abode ofthe DefendantfRespondent with
a person ofthe Defendant’szespondent’s family over the age of 15 years

/ijor service on a corporation) delivering a copy ofthc summons and a copy ofthe petition to

465/6{*5`2'€“ (name}/@szT/J/ZVL` l (iirie}.

§ Gf[il€i" h , l . 14
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- / »»»~ Mt_»,A j

 

 

 

 

 

 

 

 

 

Printed Name of Sherift" or Server Signature of Sheriff` or Server f
Must be sworn before a notary public if not served by an authorized officer: ` ' .' j
Subscribed and sworn to before me on (datc)-. _i
(.S`eal) _ ..
My commission expires:
Date Notary Public
Sherifi"s Fees, if applicable
Summons
Non Est $
Sherifi"s Deputy Salary
Supplementai Surcharge $ 10.00
Mileage 3 ( miles @ $. per mile) f,~;,>?;,;;_;,f)
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A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
suits, see Supreme Court Rule 54.

OSCA (7-99) SMB() (SMCC) For Court Use Oniy: Document Il)# l4-SMCC-786 l of 2 (Civil Procedure Form No. l, Ru|es 54.01 - 54,05,
54.13, and 54.20; 506.120 - 506.140, and 5{)6.150 RSM

 

z IN THE ZIST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 

Judge or Division:
MICHAEL D BURTON

Case Number: 14SL-CC00044

 

Plaintiff/Petitioner:

Plaintit`f’ s/Petitioner’s Attomey/Address

DOUGLAS PHILLIP BRUST DC PC MAX GEORGE MARGULIS

28 OLD BELLE MONTE ROAD
vs. CHESTERFIELD, MO 63017

 

Defendant/Respondent: Court Address:
OLYMPIC REHAB WELLNESS AND PAIN ST LOUIS COUNTY COURT BUILDTNG
CENTER PC 7900 CARONDELET AVE

 

Nature ofSuit:
CC Injunction

CLAYTON, MO 63 i 05

 

 

Case: 4:14-cv-00385-RWS Doc. #: 1-1 Filed: 02/27/14 Page: 3 of 25 Page|D #: 5

(Date Fi|e Starnp)

 

The State ofMissouri to:

5000 CEDAR PLAZA PLW
S 250
SAINT LOUIS, MO 63128

 

ST, LOUIS COUNT}’

Summons in Civil Case

OLYMPIC REHAB WELLNESS AND PAIN CENTER PC
A|ias:
SERVE REGISTERED AGENT AND
PRESIDENT
ALEXANDER BEYZER

You are summoned to appear before this court and to file your pleading to the petition, a copy of
which is attached, and to serve a copy of your pleading upon the attorney for P|aintiff/Petitioner at the
above address all within 30 days after receiving this summons, exclusive ofthe day of service. If you fail to
file your pleading, judgment by default may be taken against you for the relief demanded in the petition.

SPECIAL NEEDS: Ifyou have special needs addressed by the Americans With Disabi[ities Act, please

notify the Off'lce of the Circuit C|erk at 314»615-8029, FAX 314-615-8739 or T'l`Y at 314-615-4567, at least
three business days in advance ofthe court proceeding

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Fnrther Int"orlnation:
TLC
Sheriff‘s or Server’s Return

Note to serving officer: Summons should be returned to the court within thirty days after the date of issue
l certify that l have served the above summons by: (check one)

l:] delivering a copy ofthe summons and a copy ofthe petition to the Defendant/Respondent.
E leaving a copy ofthe summons and a copy ofthe petition at the dwelling place or usual abode ofthc Det"endant/Respondent with
a person ofthe Defendant’s/Respondent’s family over the age of 15 years.

 

[:i (for service on a corporation) delivering a copy ofthe summons end a copy ofthe petition to

 

 

 

 

 

 

 

Sheriff’s Fees, if applicable
Summons

Non Est

Sheriff’s Deputy Salary
Supplemental Surcharge
Mileagc

Tota|

 

My commission expires:

$
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(name) {title).
ij other
Served at (address)
in (County/City ofSt. Louis), MO, on (tirne)\
Printed Name of Sheriff or Server Signature of Shcriff or Scrver
Must be sworn before a notary public if not served by an authorized ofticer:
Subscribed and sworn to before me on
(Sea!)

 

Date

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( miles @ $. per milc}

(Civi| Procedure Fonn No. l, Rules 5401 - 54.05,
54 13, and 54.20; 506 l 20- 506.l4(l, and 506. 150 RSM

Notary Public

A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
suits, See Supreme Court Rule 54.

OSCA (7'»99) SMJO (SMCC) For Conri' Use Or'n'y: Document ID# ld-SMCC-TSG l of 2

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IN THE CIRCUIT COURT OF THE COUNTY OF ST. LOUIS
STATE OF MISSOURI

DOUGLAS PHILLIP BRUST, D.C., P.C.,
individually and on behalf of all others similarly- Cause No.
situated,
Division
Plaintiff,

V.

OLYMPIC REHAB, WELLNESS AND PAIN
CENTER, PC,

Defendant.

 

MOTION FOR CLASS CERTIFICATION l -»-,
COMES NOW Plaintiff, individually and on behalf of all others similarly situated, by n
and through its undersigned counsel, and for its Motion for Class Certification, states l
1. This cause should be certified as a class because all of the necessary elements of
Rule 52.08 are met. l
2. Plaintiff requests that the Court certify a class, so the common claims of the Ciass

members, based on a uniform legal theory and factual allegations applicable to all Class

 

1. Recent developments in class action practice make necessary the filing of this motion
with the petition. Defendants in class litigation have resorted to making individual settlement
offers to named plaintiffs before a class action is certified in an attempt to “pick-off” the putative
class representative and thereby detail the class action litigation Most courts have rejected these
pick-off attempts and have held that the filing of a motion for class certification With the initial
petition or Within a number of days after service of any settlement offer to a named plaintiff
staves off offers of judgment to the named plaintiff Any settlement offer made after the filing of
the motion for class certification must be made on a class-Wide basis. See Aipern v. Uz‘t`liCorp
United, 84 F.3d 1525 (Sth Cir. 1996); Weiss v. Regal Coifections, 385 F. 3d 337, 344 n. 12 (3d
Cir. 2004); see Janct`k v. Ctzvalry Portfoiio Servs., 2007 WL 1994026, at *2-3 (D. Minn. .luly 3,
2007) Harris v. Messerli & Kramer, P.A., 2008 WL 508923, at *2_3 (D. Minn. Jan. 2, 2008)
(same); Johnson v. U.S. Bank Nar’l Assn., 276 F.R.D. 330, 333-335 (D. Minn. 2011) (same). See
also Lucero v. Bureau ofCoHecIion Recovery, ]nc., 639 F.3d 1239, 1249 (10th Cir. 2011); Mey
v. Mom'tronl`cs Im"l, Inc., 2012 WL 983766, at * 4-5 (N_D. W.Va. Mar. 22, 2012); Hrivnak v.
NCO Portfolt`o Mgmt., lnc., 723 F.Supp.Qd 1020, 1029 (N.D. Ohio 2010); McDowall v. Cogan,
216 F.R.D. 46, 48-50 (E.D. N.Y. 2003).

2.

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members, can be resolved on a class-wide basis.

3. Plaintiff proposes the following Class definition:

All persons who on or after four years prior to the filing of this action, were
sent telephone facsimile messages of material advertising wellness
programs and services by or on behalf of Defendant.

4. Undcr Rule 52.08(21)(1), to bring a Class action, the Class must be “so numerous
that joinder of all members is impracticable.” Rule 52.08(a)(1). Here, there are at least hundreds
of persons who fall within the Class definition Thus, the numerosity requirement of Rule
52.08(a)(1) is satisfied

5. There are questions of law or fact common to the Class members

6. The claims or defenses of the representative parties are typical of the claims or
defenses of this Class.

7. Plaintiff and its counsel will fairly and adequately protect the interest of the Class.

8. Common issues of law or fact predominate over any individual issues, and a class
action is the superior method for the fair and efficient adjudication of this controversy

9. The prosecution of separate actions by individual members of the class would
create a risk of inconsistent or varying adjudications which would establish incompatible
standards of conduct for the party opposing the class.

10. The prosecution of separate actions by individual members of the class would
create a risk of adjudications with respect to individual members of the class which would as a
practical matter be dispositive of the interests of the other members not parties to the
adjudications or substantially impair or impede their ability to protect their interests

1 l. Plaintiff requests additional time to file its supporting Memorandum of Law after

the Court sets up an appropriate discovery schedule Written discovery related to class

certification issues is presently outstanding

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WHEREFORE, Plaintiff prays that this Court certify this case as a class action, grant
statutory injunctive relief prohibiting Defendant from sending advertising materials via fax to
members of the class, and further pray that the Court appoint Plaintiff as Class Representative,
appoint Plaintiff` s attorneys Class Counsel; that this Court allow Plaintiff additional time, for
completion of discovery related to class certification issues, to file its Memorandum of Law in
Support of this Motion; and for such other and further relief as the Court deems appropriate
under the circumstances

Respectfuliy submitted,

¢//"é¢a anita

Max G. Margulis, #24{525

MARGULIS LAW GROUP

28 Old Belle Monte Rd.

Chesterfield, MO 63017

P: (636) 536-7022

F: (636) 536-6652

E-Mail: Maxl\/largulis@MargulisLaw.corn

Of Counsel

Brian J. Wanca

ANDERSON + WANCA

3701 Algonquin Road, Suite 760
Rolling Meadows, IL 60008

P: (847) 368-1500

CERTIFICATE OF SERVICE

l hereby certify that a copy of the foregoing was served on the Defendant Olympic
Rehab, Wellness and Paint Center, PC by the sheriff at the same time as the petition

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STATE OF MISSOURI )

)
sr. LOUIS CoUNrY )

IN THE CIRCUIT COURT OF THE ST. LOUIS COUNTY
STATE OF MISSOURI

l boUGLAs PHILLIP BRUsr, D.c., P.c_, individually

 

 

` and on behalf of all others similarly-situated, Caus
Piaimin; Divisi l
V_ l
l l
l OLYMPIC REHAB, WELLNESS AND PAIN SHERIFF - ST. LOUIS COUNIY l
CENTER, PC,

Serve: Alexander Beyzer, Registered Agent f
l and President
l 5000 cedar Piaza Pkw. s 250 l
l St. Louis, MO 63128
f St. Louis County ,:. z

 

 

l Defendant ` l j

CLASS ACTION PETITION
Plaintiff, DOUGLAS PHILLIP BRUST, D.C., P.C. (“Plaintift”), brings this action op
behalf of itself and all others similarly situated, through its attorneys, and except as to those
allegations pertaining to Plaintiff or its attorneys, which allegations are based upon personal
knowledge, alleges the following upon information and belief against Defendant, OLYMPIC
REHAB, WELLNESS AND PAIN CENTER, PC (“Defendant”):
PRELIMINARY STATEMENT

l. This case challenges Defendant’s practice of sending unsolicited facsimile

advertisements

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2. The federal Telephone Consumer Protection Act, 47 USC § 227, prohibits a person
or entity from sending or having an agent send fax advertisements without the recipient’s prior
express invitation or permission (“advertising faxes” or “unsolicited faxes”) and without a proper
opt out notice. The TCPA provides a private right of action and provides statutory damages of

3500 per violation

3. Unsolicited faxes damage their recipients An advertising fax recipient loses the
use of its fax machine, paper, and ink toner. An unsolicited fax wastes the recipient’s valuable
time that would have been spent on something else. An advertising fax interrupts the recipient’s
privacy. Unsolicited faxes prevent fax machines from receiving authorized faxes, prevent their use
for authorized outgoing faxes, cause undue wear and tear on the recipients’ faX machines, and
require additional labor to attempt to discern the source and purpose of the unsolicited message
An advertising fax consumes a portion of the limited capacity of the telecommunications
infrastructure serving the victims of advertising faxing.

4. On behalf of itself and all others similarly situated, Plaintiff brings this case as a
class action asserting claims against Defendant under the TCPA, the common law of conversion

and Missouri consumer and fraud and deceptive business practices act Chapter 407.

 

5. Plaintiff seeks an award of statutory damages for each violation of the TCPA.
JURISDICTION AND PARTIES
6. This court has personal jurisdiction over Defendant because Defendant transacts

business within this state, have made contracts within this state, and/or have committed tortious

acts within this state and otherwise have sufficient minimum contacts with the State of Missouri.

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7. Plaintiff DOUGLAS PHILLIP BRUST, D.C., P.C., is a Missouri professional
corporation with its principal place of business in Missouri.

8. ()n information and belief, Defendant, OLYMPIC REHAB, WELLNESS AND
PAIN CENTER, PC is a corporation with its principal place of business in St. Louis County,
Missouri.

RELEVANT FACTS

9. On or about December 4, 2012, Defendant sent l unsolicited facsimile to Plaintiff
in St. Louis County, Missouri. A true and correct copy of the facsimile is attached as Exhibit l.

10. The transmission sent to Plaintiff on or about December 4, 2012 constitutes material
advertising the commercial availability of any property,~goods or services

ll. On information and belief, Defendant has sent other facsimile transmissions of
material advertising the commercial availability of property, goods, or services to many other
persons as part of a scheme to broadcast fax advertisements7 of which Exhibit l is an example

12. Defendant approved, authorized and participated in the scheme to broadcast fax
advertisements by (a) directing a list to be purchased or assembled; (b) directing and supervising
employees or third parties to send the faxes; (c) creating and approving the form of fax to be sent;
and (d) determining the number and frequency of the facsimile transmissions

13. Defendant created or made Exhibit l and other fax advertisementsj which
Defendant sent to Plaintiff and the other members of the class

14. Exhibit l is a part of Defendant’s work or operations to market Defendant’s goods

or services which were performed by Defendant and on behalf of Defendant.

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15. Exhibit l constitutes material furnished in connection with Defendant’s work or
operations

16. The transmission of facsimile advertisements including Exhibit l, to Plaintiff did
not contain a notice that informs the recipient of the ability and means to avoid future unsolicited

advertisements

17. The transmission of facsimile advertisements including Exhibit l, to Plaintiff did
not contain a notice that states that the recipient may make a request to the sender of the
advertisement not to send any future advertisements to a telephone facsimile machine or machines
and that failure to comply, within 30 days, with such a request meeting the requirements under
paragraph 47 C.F.R. 64.1200(a)(3)(v) of this section is unlawful

18. The transmission of facsimile advertisements including Exhibit l, to Plaintiff did
not contain a notice that complied with the provisions of 47 U.S.C. § 227(b)(l)(C) and/or 47
C.F.R. 64.1200(a)(3).

19. The transmission of facsimile advertisementsJ including Exhibit l, to Plaintiff was
required to contain a notice that complied with the provisions of 47 U.S.C. § 227(b)(l)(C) and/or
47 C.F`R. 64.1200(a)(3).

20. On information and belief, Defendant sent multiple unsolicited facsimiles to
Plaintiff and members of the proposed classes throughout the time period covered by the class
definitions

21. On information and belief, Defendant faxed the same and similar facsimiles to the
members of the proposed classes in Missouri and throughout the United States without first

obtaining the recipients’ prior express permission or invitation

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22. There is no reasonable means for Plaintiff (or any other class member) to avoid
receiving unlawful faxes Fax machines are left on and ready to receive the urgent
communications their owners desire to receive.

23. Defendant knew or should have known that: (a) facsimile advertisements
including Exhibit l, were advertisements (b) Plaintiff and the other members of the class had not
given their prior permission or invitation to receive facsimile advertisements (c) No established
business relationship existed with Plaintiff and the other members of the class; and (d) Defendant
did not display a proper opt out notice.

24. Defendant engaged in the transmission of facsimile advertisements including
Exhibit l, believing such a transmission was legal based on Defendant’s own understanding of the
law and/or based on the representations of others on which Defendant reasonably relied.

25. Defendant did not intend to send a transmission of facsimile advertisements
including Exhibit l to any person where such transmission was not authorized by law or by the
recipient, and to the extent that any transmissions of facsimile advertisement was sent to any
person and such transmission was not authorized by law or by the recipient, such transmission was
made based on either Defendant’s own understanding of the law and/or based on the
representations of others on which Defendant reasonably relied.

26. Defendant failed to correctly determine the legal restrictions on the use of facsimile
transmissions and the application of those restrictions to the transmission of facsimile
advertisements including Exhibit 1, both to others in general, and specifically to Plaintiff

27. The transmission of facsimile advertisements including Exhibit l, to Plaintiff and

other members of the class caused destruction of Plaintiffs property.

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28. The transmission of facsimile advertisements including Exhibit l, to Plaintiff and
other members of the class interfered with Plaintiffs and other members of the class’ exclusive use
of their property.

29. The transmission of facsimile advertisements including Exhibit l, to Plaintiff and
other members of the class interfered with Plaintiffs and other members of the class’ business
and/or personal communications

COUNT I
TELEPHONE CONSUMER PROTECTION ACT, 47 U.S.C. 5 227

30. Plaintiff incorporates the preceding paragraphs as though fully set forth herein.
3l. Plaintiff brings Count I pursuant to the Telephone Consumer Protection Act, 47
U.S.C. § 227, on behalf of the following class of persons

All persons who (l) on or after four years prior to the filing of this action, (2)
were sent by or on behalf of Defendant any telephone facsimile transmissions
of material making known the commercial existence of, or making
qualitative statements regarding any property, goods or services (3) with
respect to whom Defendant cannot provide evidence of prior express
permission or invitation for the sending of such faxes (4) with whom
Defendant does not have an established business relationship and (5) which
did not display a proper opt out notice.

32. A class action is warranted because:
a. On information and belief, the class includes more than forty persons and is
so numerous that joinder of all members is impracticable
b. There are questions of fact or law common to the class predominating over
questions affecting only individual class members including without limitation:

i. Whether Defendant engaged in a pattern of sending unsolicited fax

advertisements

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ii. Whether Exhibit l contain material advertising the commercial
availability of any property, goods or services

iii. Whether Defendant’s facsimiles advertised the commercial
availability of property, goods or services

iv. The manner and method Defendant used to compile or obtain the list
of fax numbers to which they sent Exhibit l and other unsolicited faxed
advertisements

v. Whether Defendant faxed advertisements without first obtaining the
recipients’ prior express permission or invitation;

vi. Whether Defendant violated the provisions of 47 USC § 227;

vii. Whether Plaintiff and the other class members are entitled to
statutory damages

viii. Whether Defendant knowingly violated the provisions of 47 USC §

227;

ix_ Whether Defendant should be enjoined from faxing advertisements
in the future;

x. Whether the Court should award trebled damages and

xi. Whether Exhibit l and the other fax advertisements sent by or on
behalf of Defendant displayed the proper opt out notice required by 64
C.F.R. 1200.

33. Plaintiff will fairly and adequately protect the interests of the other class members

PlaintifPs counsel are experienced in handling class actions and claims involving unsolicited

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advertising faxes. Neither Plaintiff nor Plaintiff s counsel has any interests adverse or in conflict
with the absent class members

34. A class action is an appropriate method for adjudicating this controversy fairly and
efficiently The interest of each individual class member in controlling the prosecution of separate
claims is small and individual actions are not economically feasible

35. The TCPA prohibits the “use of any telephone facsimile machine, computer or
other device to send an unsolicited advertisement to a telephone facsimile machine....” 47 U.S.C.
§ 227(b)(l).

36. The TCPA defines c‘unsolicited advertisement,” as “any material advertising the
commercial availability or quality of any property, goods or services which is transmitted to any
person without that person’s express invitation or permission.” 47 U.S.C. § 227(a)(4).

37. The TCPA provides:

Private right of action. A person may, if otherwise permitted by the laws or
rules of court of a state, bring in an appropriate court of that state:

(A) An action based on a violation of this subsection or the regulations
prescribed under this subsection to enjoin such violation,

(B) An action to recover for actual monetary loss from such a violation,
or to receive $500 in damages for each such violation, whichever is greater,

or
(C) Both such actions
38. The Court, in its discretion, may treble the statutory damages if the violation was

knowing 47 U.S.C. § 227.

39. The TCPA is a strict liability statute and the Defendant are liable to Plaintiff and the

other class members even if their actions were only negligent

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40. Defendant’s actions caused damages to Plaintiff and the other class members
Receiving Defendant’s advertising faxes caused the recipients to lose paper and toner consumed in
the printing of Defendant’s faxes. l\/[oreover, Defendant’s actions interfered with Plaintiff s use of
its fax machine and telephone line connected to that fax machine Defendant’s faxes cost Plaintiff
time, as Plaintiff and/or its employees wasted their time receiving, reviewing and routing
Defendant’s unlawful faxes. That time otherwise would have been spent on Plaintiff’s business
activities Finally, Defendant’s faxes unlawfully interrupted Plaintiff’ s and the other class
members’ privacy interests in being left alone.

41. Defendant did not intend to cause damage to Plaintiff and the other class members
did not intend to violate their privacy, and did not intend to interfere with recipients’ fax machines
or consume the recipients’ valuable time with Defendant’s advertisements

42. lf the court finds that Defendant knowingly violated this subsection or the
regulations prescribed under this subsection, the court may, in its discretion, increase the amount
of the award to an amount equal to not more than three times the amount available under
subparagraph (B) of this paragraph 47 U.S.C. § 227(b)(3).

43. Defendant knew or should have known that: (A) Plaintiff and the other class
members had not given express permission or invitation for Defendant or anyone else to fax
advertisements about Defendant’s goods or services (B) Defendant did not have an established
business relationship with Plaintiff and the other members of the class (C) Exhibit l was an

advertisement, and (D) Exhibit l and the other facsimile advertisements did not display the proper

opt out notice.

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44. Defendant violated 47 U.S.C. § 227 et seq. by transmitting Exhibit l and the other
facsimile advertisements hereto to Plaintiff and the other members of the class without obtaining
their prior express permission or invitation and not displaying the proper opt out notice required by
64 C.F.R. 1200

45. Defendant knew or should have known that: (a) document Exhibit l and the other
facsimile advertisements were advertisements (b) Defendant did not obtain prior permission or
invitation to send document Exhibit l; (c) Defendant did not have an established business
relationship with Plaintiff or the other members of the class and (d) Exhibit l and the other
facsimile advertisements did not display a proper opt out notice.

46. Defendant engaged in the transmission of document Exhibit l believing such
transmission was legal based on Defendant’s own understanding of the law and/or based on the
representations of others on which Defendant reasonably relied.

47. Defendant did not intend to send the transmission of document Exhibit 1 to any
person where such transmission was not authorized by law or by the recipient, and to the extent
that any transmission of document Exhibit l was sent to any person and such transmission was not
authorized by law or by the recipient, such transmission was made based on either Defendant’s
own understanding of the law and/or based on the representations of others on which Defendant
reasonably relied

48. Defendant failed to correctly determine the legal restrictions on the use of facsimile
transmissions and the application of those restrictions to the transmission of document Exhibit l

both to others in general, and specifically to Plaintiffl

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49. Defendant’s actions caused damages to Plaintiff and the other class members
because their receipt of Defendant’s unsolicited fax advertisements caused them to lose paper and
toner consumed as a result. Defendant’s actions prevented Plaintiff"s fax machine from being used
for Plaintiff`s business purposes during the time Defendant were using Plaintiff’s fax machine for
Defendant’s unauthorized purpose Defendant’s actions also cost Plaintiff employee time, as
Plaintiffs employees used their time receiving, routing and reviewing Defendant’s unauthorized
faxes and that time otherwise would have been spent on Plaintiff’s business activities Finally, the
injury and property damage sustained by Plaintiff and the other members of the class occurred
outside of Defendant’s premises Pursuant to law, Plaintiff, and each class member, instead may
recover $500 for each violation of the TCPA.

WHEREFORE, Plaintiff, DOUGLAS PHILLIP BRUST, D.C., P.C., individually and on
behalf of all others similarly situated, demand judgment in its favor and against Defendant,
OLYMPIC REHAB, WELLNESS AND PAIN CENTER, PC, as follows:

A. That the Court adjudge and decree that the present case may be properly maintained
as a class action, appoint Plaintiff as the representative of the class and appoint Plaintiff` s counsel

as counsel for the class

B. That the Court award between 3500.00 and $l,500.00 in damages for each violation

of the TCPA',

C. That the Court enter an injunction prohibiting the Defendant from engaging in the

statutory violations at issue in this action; and

D. That the Court award costs and such further relief as the Court may deem just and

proper.

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E. That the Court award pre-judgment and post-judgment interest at the statutory rate
of 9%.

COUNT II
CONVERSION

50. Plaintiff incorporates Paragraphs 3 and 4, 9, 12 - 15, 20 a 22 and 24 - 29 as for its
paragraph 50.
Sl. ln accordance with Mo. S. Ct. Rule 52.08, Plaintiff brings Count ll for conversion
under the common law for the following class of persons:
All persons who on or after five years prior to the filing of this action, were
sent telephone facsimile messages by or on behalf of Defendant with respect
to whom Defendant cannot provide evidence of prior express permission or
invitation
52. A class action is proper in that:
a. On information and belief the class is so numerous that joinder of all
members is impracticable.

b. There are questions of fact or law common to the class predominating over

all questions affecting only individual class members including:

i. Whether Defendant engaged in a pattern of sending unsolicited
faxes;
ii. Whether Defendant sent faxes without obtaining the recipients’ prior

express permission or invitation of the faxes;
iii. The manner and method Defendant used to compile or obtain the list
of fax numbers to which it sent Exhibit l and other unsolicited faxes;

iv. Whether Defendant committed the tort of conversion; and

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v. Whether Plaintiff and the other class members are entitled to recover
actual damages and other appropriate relief
53. Plaintiff will fairly and adequately protect the interests of the other class members
Plaintiff has retained counsel who is experienced in handling class actions and claims involving
unlawful business practices Neither Plaintiff nor Plaintiff’s counsel have any interests adverse or
in conflict with the class
54. A class action is an appropriate method for adjudicating this controversy fairly and
efficiently The interest of the individual class members in individually controlling the prosecution
of separate claims is small and individual actions are not economically feasible
55. By sending Plaintiff and the other class members unsolicited faxes, Defendant
improperly and unlawfully converted their fax machines toner and paper to its own use.
Defendant also converted Plaintiff’s employees’ time to Defendant’s own use
56. Immediately prior to the sending of the unsolicited faxes Plaintiff, and the other
class members owned an unqualified and immediate right to possession of their fax machine,
paper, toner, and employee time
57. By sending the unsolicited faxes, Defendant permanently misappropriated the class
members’ fax machines toner, paper, and employee time to Defendant’s own use. Such
misappropriation was wrongful and without authorization
58. Defendant knew or should have known that its misappropriation of paper, toner,

and employee time was wrongful and without authorization

59. Plaintiff and the other class members were deprived of the use of the fax machines

paper, toner, and employee time, which could no longer be used for any other purpose Plaintiff

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and each class member thereby suffered damages as a result of the sending of unsolicited fax
advertisements from Defendant.

60. Each of Defendant’s unsolicited faxes effectively stole Plaintiff" s employees’ time
because persons employed by Plaintiff were involved in receiving, routing, and reviewing
Defendant’s unlawful faxes. Defendant knew or should have known employees’ time is valuable
to Plaintiff.

61. Defendant’s actions caused damages to Plaintiff and the other members of the class
because their receipt of Defendant’s unsolicited faxes caused them to lose paper and toner as a
result. Defendant’s actions prevented Plaintiff’s fax machines from being used for Plaintiff’s
business purposes during the time Defendant was using Plaintiff’s fax machines for Defendant’s
unlawful purpose Defendant’s actions also cost Plaintiff employee time, as Plaintiff’ s employees
used their time receiving, routing, and reviewing Defendant’s unlawful faxes and that time
otherwise would have been spent on Plaintiff’ s business activities

WHEREFORE, Plaintiff, DOUGLAS Pl-llLLlP BRUST, D.C., P.C., individually and on
behalf of all others similarly situated, demand judgment in its favor and against Defendant,
OLYl\/IPIC REHAB, WELLNESS AND PAIN CENTER, PC, as follows

A. That the Court adjudge and decree that the present case may be properly maintained
as a class action, appoint Plaintiff as the representative of the class and appoint Plaintiff’s counsel
as counsel for the class

B. That the Court award appropriate damages

C. That the Court award costs of suit; and

D. Awarding such further relief as the Court may deem just and proper.

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COUNT III

MISSOURI CONSUMER FRAUD AND DECEPTIVE BUSINESS PRACTICES ACT

62.
paragraph 62.

63.

Chapter 407

Plaintiff incorporates Paragraphs 3 and 4, 9, 12 - 15, 20 - 22 and 24 - 29 as for its

ln accordance with Chapter 407, Plaintiff, on behalf of the following class of

persons bring Count lll for Defendant’s unfair practice of sending unsolicited and unlawful fax

advertisements

64.

All persons who on or after four years prior to the filing of this action, were
sent telephone facsimile messages by or on behalf of Defendant with respect
to whom Defendant cannot provide evidence of prior express permission or
invitation
A class action is proper in that:
a. On information and belief the class consists of over 40 persons in l\/lissouri
and throughout the United States and is so numerous thatjoinder of all members is
impracticable
b. There are questions of fact or law common to the class predominating over
all questions affecting only individual class members including:
i_ Whether Defendant engaged in a pattern of sending unsolicited
faxes;
ii. The manner and method Defendant used to compile or obtain the list
of fax numbers to which it sent Exhibit l and other unsolicited faxes;

iii. Whether Defendant’s practice of sending unsolicited faxes violates

Missouri public policy;

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iv. Whether Defendant’s practice of sending unsolicited faxes is an
unfair practice under the Missouri Merchandising Practices Act (l\/IMPA),
Chapter 407 RSMO; and
v. Whether Defendant should be enjoined from sending unsolicited fax
advertising in the future
65 . Plaintiff will fairly and adequately protect the interests of the other class members
Plaintiff has retained counsel who are experienced in handling class actions and claims involving
lawful business practices Neither Plaintiff nor Plaintiff`s counsel have any interests adverse or in
conflict with the class
66. A class action is an appropriate method for adjudicating this controversy fairly and
efficiently. The interest of the individual class members in individually controlling the prosecution
of separate claims is small and individual actions are not economically feasible
67. Defendant’s unsolicited fax practice is an unfair practice, because it violates public
policy, and because it forced Plaintiff and the other class members to incur expense without any
consideration in return Defendant’s practice effectively forced Plaintiff and the other class
members to pay for Defendant’s advertising campaign
68. n Defendant violated the unfairness predicate of the Act by engaging in an
unscrupulous business practice and by violating l\/lissouri statutory public policy, which public
policy violations in the aggregate caused substantial injury to hundreds of persons
69. Defendant’s misconduct caused damages to Plaintiff and the other members of the

class including the loss of paper, toner, ink, use of their facsimile machines and use of their

employees’ time

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70. Defendant’s actions caused damages to Plaintiff and the other class members
because their receipt of Defendant’s unsolicited faxes caused them to lose paper and toner
consumed as a result. Defendant’s actions prevented Plaintiff’s fax machine from being used for
Plaintiff’s business purposes during the time Defendant were using Plaintiffs fax machine for
Defendant’s unlawful purpose Defendant’s actions also cost Plaintiff employee time, as
Plaintiff`s employees used their time receivingJ routing, and reviewing Defendant’s unlawful faxes
and that time otherwise would have been spent on Plaintiff`s business activities

WHEREFORE, Plaintiff, DOUGLAS PHILLIP BRUST, D.C., P.C., individually and on
behalf of all others similarly situated, demand judgment in its favor and against Defendant,
OLYMPlC REHAB, WELLNESS AND PAIN CENTER, PC, as follows:

A. That the Court adjudge and decree that the present case may be properly maintained
as a class action, appoint Plaintiff as the class representative and appoint Plaintiff`s counsel as
counsel for the class;

B. That the Court award damages to Plaintiff and the other class members

C. That the Court award treble damages to Plaintiff and the other class members for

knowing violations of the TCPA;

D. That the Court declare that Defendant’s conduct violated the TCPA and that this

action is just and proper;

E. That the Court award damages for conversion of the plaintiffs and the class for

violation of their rights

F. That the Court award damages and attorney fees for violation of Chapter 407;

G. That the Court award attorney fees and costs;

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H. That the Court award all expenses incurred in preparing and prosecuting these
claims
l. That the Court enter an injunction prohibiting Defendant from sending faxed

advertisements and

J. Awarding such further relief as the Court may deem just and proper.

Respectfully submitted,

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Olympic Rehab
WELLNES

&PAIN

Center
5000 ceaer arms se 250 a st tours Mo 53122 * Phone (314) 849~1003 *

 

12/04/2012
De.a.r F::iends and Colleaguos!

2013 will bring new excitement and challenges in the

practice of Mdicina.

We all live longer and want to stay health.y.

I strongly believe that wellness and prevention is a future

of medicine That's why I implemented a vellness program in
' to mg practice. By using safe and effective nutritional

supplenonts, I can help my patients lose weight; alleviate

pain, increase energy and bring extra revenue to my

practice .

Sinoe-I started our program my patients are better leasing
weight, my staff is better and I ann happie:.

I can share my result with you teo.
Plea.se call my office at your convenience:

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ny web site: M.mywinwebpage.cm/'?J.B€&

Alex Beyzer,. M. D.

EXHlBiT .'L

